                 Case: 1:12-cr-00723 Document #: 584 Filed: 08/08/24 Page 1 of 20 PageID #:6585
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 1



                                  UNITED STATES DISTRICT COURT
                                                            Northern District of Illinois
 UNITED STATES OF AMERICA                                                   SECOND AMENDED JUDGMENT IN A
           v.                                                               CRIMINAL CASE
 ADEL DAOUD
                                                                            Case Number:      1:12-CR-00723(1)
 Date of Original Judgment: 8/5/2024 (Or                                    USM Number:       43222-424
 Date of Last Amended Judgment)
                                                                            Quinn Alexandra Michaelis
 Reason for Amendment:                                                      Defendant’s Attorney
 ☒ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))          ☐ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
 ☐ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.               3583(e))
     P. 35(b))                                                              ☐ Modification of Imposed Term of Imprisonment for Extraordinary
 ☐ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))        and Compelling Reasons (18 U.S.C. § 3582(c)(1))
 ☐ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        ☐ Modification of Imposed Term of Imprisonment for Retroactive
                                                                              Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
                                                                              3582(c)(2))
                                                                            ☐ Direct Motion to District Court Pursuant ☐ 28 U.S.C. § 2255
                                                                                or ☐ 18 U.S.C. § 3559(c)(7)
                                                                            ☐ Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
  ☒ pleaded guilty count(s) one (1) and two (2) of the indictment.
  ☐ pleaded nolo contendere to count(s)         which was accepted by the court.
  ☐ was found guilty on count(s)        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                Offense Ended                   Count
 18 U.S.C. §2332a(a)(2)(D) Attempted Use of a Weapon of Mass Destruction                            9/14/2012                       1
 18 U.S.C. §844(i) Malicious Attempt to Damage/Destroy by Explosives                                9/14/2012                       2




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this judgment, the judgment previously entered shall stand. (See
attachments)
  ☐ The defendant has been found not guilty on count(s)
  ☐ Count(s) «dismissd_counts» dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                   August 5, 2024
                                                                                   Date of Imposition of Judgment

                                                                                   _____________________________________________
                                                                                   Signature of Judge

                                                                                   Matthew F. Kennelly , United States District Judge
                                                                                   Name and Title of Judge


                                                                                   Date
                 Case: 1:12-cr-00723 Document #: 584 Filed: 08/08/24 Page 2 of 20 PageID #:6586
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 2 – Imprisonment                                                                                                         Judgment – Page 2 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)
                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
Three hundred and Twenty-four (324) months as to count one (1) and two hundred and forty months (240) as to count 2 of the indictment.
The terms of imprisonment are to run concurrently with each other and are to run concurrently with the sentence imposed in the defendant’s
other cases in the Northern District of Illinois; 1:13-cr-703 and 1:15-cr-487.


  ☒      The court makes the following recommendations to the Bureau of Prisons: Any costs of imprisonment are waived due to the
    defendant’s inability to pay.
  ☒      The defendant is remanded to the custody of the United States Marshal.

  ☐      The defendant shall surrender to the United States Marshal for this district:

            ☐      at         on

       ☐      as notified by the United States Marshal.

       ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐      before 2:00 pm on

            ☐      as notified by the United States Marshal.

            ☐      as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

I have executed this judgment as follows: _____________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

Defendant delivered on ___________ to ________________________ at_____________________________, with a certified copy of this
judgment.


                                                                                  __________________________________________
                                                                                  UNITED STATES MARSHAL


                                                                               By ___________________________________________
                                                                                  DEPUTY UNITED STATES MARSHAL
                 Case: 1:12-cr-00723 Document #: 584 Filed: 08/08/24 Page 3 of 20 PageID #:6587
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                               (Note: Identify Changes with Asterisks (*))
Sheet 5 – Criminal Monetary Penalties                                                                                            Judgment – Page 3 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of: Life. This term of supervised release is to run concurrently
with the supervised release imposed on the defendant’s other cases in the Northern District of Illinois; 1:13-cr-703 and 1:15-cr-487. Any
costs of supervised release are waived due to the defendant’s inablity to pay.

           The court imposes those conditions identified below:


During the period of supervised release:

1. The defendant shall not commit another Federal, State, or local crime.

2. The defendant shall not unlawfully possess a controlled substance.

3. The defendant shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.


 DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3563(b) AND
                                18 U.S.C § 3583(d)
Discretionary Conditions — The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set forth in § 3553(a)(1) and (a)(2)(B), (C), and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in § 3553 (a)(2) (B), (C), and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified below:

During the period of supervised release:

1. The defendant shall seek, and work conscientiously at, lawful employment or, if he is not gainfully employed, the defendant shall pursue
conscientiously a course of study or vocational training that will equip him for employment.

*2. The defendant shall not knowingly meet or communicate with any person whom he knows to be engaged, or planning to be engaged, in
criminal activity and shall not knowingly meet or communicate with the following persons: Any persons who are, or claim to be, associated
with a foreign terrorist organization (as defined in 8 U.S.C. §1189), or who are, or claim to be, involved with violent acts, or advocating for
acts of violence; and, communicating with any persons who are located outside of the United States with the exception to family members
and persons previously identified and approved by the Probation Office.

3. The defendant shall not possess a firearm, destructive device, or other dangerous weapon.

4. The defendant shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take any medications
prescribed by the mental health treatment provider.

5. The defendant shall not knowingly leave from the federal judicial district where he is being supervised, unless granted permission to leave
by the court or a probation officer. The geographic area of the Northern District of Illinois currently consists of the Illinois counties of Cook,
DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will, Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and
Winnebago.

6. The defendant shall report to the probation office in the federal judicial district to which he is released within 72 hours of his release from
imprisonment. The defendant shall thereafter report to the probation officer at reasonable times as directed by the court or a probation officer.

7. The defendant will permit a probation officer to visit him at any reasonable time at home or any location that the probation officer may
enter by right or concept and will permit confiscation of contraband in plain view.

8. The defendant shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or workplace
and, absent constitutional or other legal privilege, answer inquiries by a probation officer. The defendant shall answer truthfully any inquiries
by a probation officer, subject to any constitutional or other legal privilege.
                 Case: 1:12-cr-00723 Document #: 584 Filed: 08/08/24 Page 4 of 20 PageID #:6588
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                               (Note: Identify Changes with Asterisks (*))
Sheet 5 – Criminal Monetary Penalties                                                                                            Judgment – Page 4 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

9. The defendant shall notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
enforcement officer.

10. The defendant shall satisfy such other special conditions as ordered below.

11. The defendant shall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. §1030(e)(1)),
other electronic communications or data storage devices or media,] or office, to a search conducted by a United States Probation Officer(s).
Failure to submit to a search may be grounds for revocation of release. The defendant shall warn any other occupants that the premises may
be subject to searches pursuant to this condition. An officer(s) may conduct a search pursuant to this condition only when reasonable
suspicion exists that the defendant has violated a condition of his supervision and that the areas to be searched contain evidence of this
violation. Any search must be conducted at a reasonable time and in a reasonable manner.

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 3583(d)
The court imposes those conditions identified below:

During the term of supervised release:

1. The defendant shall participate in an approved job skill-training program at the direction of a probation officer within the first 60 days of
placement on supervision.

2. The defendant shall provide a probation officer with access to any requested financial information necessary to monitor compliance with
conditions of supervised release.

3. The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the permission
of the court.

4. The defendant should attend violent extremism counseling from providers as directed by the Probation Office, and agreed to by the
Probation Office, the United States Attorney’s Office for the Northern District of Illinois, and the defendant, or upon order of the Court. The
defendant shall also authorize the release of any mental health and/or violent extremism counseling records to the probation officer.

5. The defendant shall not possess or use at any location (including his place of employment), any external storage device without the prior
approval of a probation officer.

6. The defendant shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the United States
Probation Office. The defendant shall identify all computers to which he has access. The defendant shall consent to the installation of
computer monitoring software on all computers to which he has access. The software may restrict and/or record any and all activity on the
computer, including the capture of keystrokes, application information, Internet use history, email correspondence, and chat conversations. A
notice will be placed on the computer at the time of installation to warn others of the existence of the monitoring software. The defendant
shall not remove, tamper with, reverse engineer, or in any way circumvent the software.

7. The defendant shall not possess or use any device with access to any online computer service at any location (including place of
employment) without the prior approval of a probation officer. This includes any Internet service provider, bulletin board system, or any
other public or private network or email system.

8. The defendant shall be required to submit to periodic polygraph testing at the direction of the probation office as a means to ensure that he
is in compliance with the requirements of his supervision or treatment program.
                 Case: 1:12-cr-00723 Document #: 584 Filed: 08/08/24 Page 5 of 20 PageID #:6589
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                                     (Note: Identify Changes with Asterisks (*))
Sheet 5 – Criminal Monetary Penalties                                                                                                  Judgment – Page 5 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

                                             CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                            Assessment                 Restitution              Fine                AVAA Assessment*            JVTA Assessment**
 TOTALS                                    $200.00                   $.00                   $.00                 $.00                          $.00


  ☐      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
         such determination.

  ☐      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.



       ☐        Restitution amount ordered pursuant to plea agreement $

       ☐        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       ☐        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                  ☐ the interest requirement is waived for the              .

                  ☐ the interest requirement for the              is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September
13, 1994, but before April 23, 1996.
                 Case: 1:12-cr-00723 Document #: 584 Filed: 08/08/24 Page 6 of 20 PageID #:6590
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                                    (Note: Identify Changes with Asterisks (*))
Sheet 6 – Schedule of Payments                                                                                                        Judgment – Page 6 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A         ☒ Lump sum payment of $200 due immediately.

                 ☐      balance due not later than           , or

                 ☐      balance due in accordance with            ☐ C,   ☐ D,     ☐ E, or      ☐ F below; or

B         ☐ Payment to begin immediately (may be combined with                ☐ C,     ☐ D, or      ☐ F below); or

C         ☐ Payment in equal              (e.g. weekly, monthly, quarterly) installments of $          over a period of          (e.g., months or years), to
               commence            (e.g., 30 or 60 days) after the date of this judgment; or

D         ☐ Payment in equal              (e.g. weekly, monthly, quarterly) installments of $          over a period of          (e.g., months or years), to
               commence            (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E         ☐ Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         ☐ Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    ☐ Joint and Several

Case Number                                      Total Amount                   Joint and Several          Corresponding Payee, if
Defendant and Co-Defendant Names                                                Amount                     Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

    ☐ The defendant shall pay the cost of prosecution.

    ☐ The defendant shall pay the following court cost(s):

    ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
                 Case: 1:12-cr-00723 Document #: 584
                                                 575 Filed: 08/08/24
                                                            08/05/24 Page 7
                                                                          1 of 20
                                                                               14 PageID #:6591
                                                                                         #:6391
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 1



                                  UNITED STATES DISTRICT COURT
                                                            Northern District of Illinois
 UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
           v.
 ADEL DAOUD                                                                 Case Number:      1:12-CR-00723(1)
                                                                            USM Number:       43222-424
 Date of Original Judgment: 5/20/2019
                                                                            Quinn Alexandra Michaelis
 (Or Date of Last Amended Judgment)
                                                                            Defendant’s Attorney
 Reason for Amendment:
 ☒ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))          ☐ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
 ☐ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.               3583(e))
     P. 35(b))                                                              ☐ Modification of Imposed Term of Imprisonment for Extraordinary
 ☐ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))        and Compelling Reasons (18 U.S.C. § 3582(c)(1))
 ☐ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        ☐ Modification of Imposed Term of Imprisonment for Retroactive
                                                                              Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
                                                                              3582(c)(2))
                                                                            ☐ Direct Motion to District Court Pursuant ☐ 28 U.S.C. § 2255
                                                                                or ☐ 18 U.S.C. § 3559(c)(7)
                                                                            ☐ Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
  ☒ pleaded guilty count(s) one (1) and two (2) of the indictment.
  ☐ pleaded nolo contendere to count(s)         which was accepted by the court.
  ☐ was found guilty on count(s)        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                Offense Ended                   Count
 18 U.S.C. §2332a(a)(2)(D) Attempted Use of a Weapon of Mass Destruction                            9/14/2012                       1
 18 U.S.C. §844(i) Malicious Attempt to Damage/Destroy by Explosives                                9/14/2012                       2




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984. Other than the amendments or modifications stated in this judgment, the judgment previously entered shall stand. (See
attachments)
  ☐ The defendant has been found not guilty on count(s)
  ☐ Count(s) «dismissd_counts» dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                   August 5, 2024
                                                                                   Date of Imposition of Judgment

                                                                                   _____________________________________________
                                                                                   Signature of Judge

                                                                                   Matthew F. Kennelly , United States District Judge
                                                                                   Name and Title of Judge


                                                                                   Date
                 Case: 1:12-cr-00723 Document #: 584
                                                 575 Filed: 08/08/24
                                                            08/05/24 Page 8
                                                                          2 of 20
                                                                               14 PageID #:6592
                                                                                         #:6392
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                             (Note: Identify Changes with Asterisks (*))
Sheet 2 – Imprisonment                                                                                                         Judgment – Page 2 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)
                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
Three hundred and Twenty-four (324) months as to count one (1) and two hundred and forty months (240) as to count 2 of the indictment.
The terms of imprisonment are to run concurrently with each other and are to run concurrently with the sentence imposed in the defendant’s
other cases in the Northern District of Illinois; 1:13-cr-703 and 1:15-cr-487.


  ☒      The court makes the following recommendations to the Bureau of Prisons: Any costs of imprisonment are waived due to the
    defendant’s inability to pay.
  ☒      The defendant is remanded to the custody of the United States Marshal.

  ☐      The defendant shall surrender to the United States Marshal for this district:

            ☐      at         on

       ☐      as notified by the United States Marshal.

       ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐      before 2:00 pm on

            ☐      as notified by the United States Marshal.

            ☐      as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

I have executed this judgment as follows: _____________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

Defendant delivered on ___________ to ________________________ at_____________________________, with a certified copy of this
judgment.


                                                                                  __________________________________________
                                                                                  UNITED STATES MARSHAL


                                                                               By ___________________________________________
                                                                                  DEPUTY UNITED STATES MARSHAL
                 Case: 1:12-cr-00723 Document #: 584
                                                 575 Filed: 08/08/24
                                                            08/05/24 Page 9
                                                                          3 of 20
                                                                               14 PageID #:6593
                                                                                         #:6393
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                               (Note: Identify Changes with Asterisks (*))
Sheet 5 – Criminal Monetary Penalties                                                                                            Judgment – Page 3 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of: Life. This term of supervised release is to run concurrently
with the supervised release imposed on the defendant’s other cases in the Northern District of Illinois; 1:13-cr-703 and 1:15-cr-487. Any
costs of supervised release are waived due to the defendant’s inablity to pay.

           The court imposes those conditions identified below:


During the period of supervised release:

1. The defendant shall not commit another Federal, State, or local crime.

2. The defendant shall not unlawfully possess a controlled substance.

3. The defendant shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.


 DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3563(b) AND
                                18 U.S.C § 3583(d)
Discretionary Conditions — The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set forth in § 3553(a)(1) and (a)(2)(B), (C), and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in § 3553 (a)(2) (B), (C), and (D); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified below:

During the period of supervised release:

1. The defendant shall seek, and work conscientiously at, lawful employment or, if he is not gainfully employed, the defendant shall pursue
conscientiously a course of study or vocational training that will equip him for employment.

2. The defendant shall not knowingly meet or communicate with any person whom he knows to be engaged, or planning to be engaged, in
criminal activity and shall not: Any persons who are, or claim to be, associated with a foreign terrorist organization (as defined in 8 U.S.C.
§1189), or who are, or claim to be, involved with violent acts, or advocating for acts of violence; and, communicating with any persons who
are located outside of the United States with the exception to family members and persons previously identified and approved by the
Probation Office.

3. The defendant shall not possess a firearm, destructive device, or other dangerous weapon.

4. The defendant shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take any medications
prescribed by the mental health treatment provider.

5. The defendant shall not knowingly leave from the federal judicial district where he is being supervised, unless granted permission to leave
by the court or a probation officer. The geographic area of the Northern District of Illinois currently consists of the Illinois counties of Cook,
DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will, Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and
Winnebago.

6. The defendant shall report to the probation office in the federal judicial district to which he is released within 72 hours of his release from
imprisonment. The defendant shall thereafter report to the probation officer at reasonable times as directed by the court or a probation officer.

7. The defendant will permit a probation officer to visit him at any reasonable time at home or any location that the probation officer may
enter by right or concept and will permit confiscation of contraband in plain view.

8. The defendant shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or workplace
and, absent constitutional or other legal privilege, answer inquiries by a probation officer. The defendant shall answer truthfully any inquiries
by a probation officer, subject to any constitutional or other legal privilege.
                Case:
                Case:1:12-cr-00723
                      1:12-cr-00723Document
                                   Document#:
                                            #:584
                                               575Filed:
                                                  Filed:08/08/24
                                                         08/05/24Page
                                                                 Page10
                                                                      4 of
                                                                        of14
                                                                           20PageID
                                                                             PageID#:6394
                                                                                    #:6594
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                               (Note: Identify Changes with Asterisks (*))
Sheet 5 – Criminal Monetary Penalties                                                                                            Judgment – Page 4 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

9. The defendant shall notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
enforcement officer.

10. The defendant shall satisfy such other special conditions as ordered below.

11. The defendant shall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. §1030(e)(1)),
other electronic communications or data storage devices or media,] or office, to a search conducted by a United States Probation Officer(s).
Failure to submit to a search may be grounds for revocation of release. The defendant shall warn any other occupants that the premises may
be subject to searches pursuant to this condition. An officer(s) may conduct a search pursuant to this condition only when reasonable
suspicion exists that the defendant has violated a condition of his supervision and that the areas to be searched contain evidence of this
violation. Any search must be conducted at a reasonable time and in a reasonable manner.

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 3583(d)
The court imposes those conditions identified below:

During the term of supervised release:

1. The defendant shall participate in an approved job skill-training program at the direction of a probation officer within the first 60 days of
placement on supervision.

2. The defendant shall provide a probation officer with access to any requested financial information necessary to monitor compliance with
conditions of supervised release.

3. The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the permission
of the court.

4. The defendant should attend violent extremism counseling from providers as directed by the Probation Office, and agreed to by the
Probation Office, the United States Attorney’s Office for the Northern District of Illinois, and the defendant, or upon order of the Court. The
defendant shall also authorize the release of any mental health and/or violent extremism counseling records to the probation officer.

5. The defendant shall not possess or use at any location (including his place of employment), any external storage device without the prior
approval of a probation officer.

6. The defendant shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the United States
Probation Office. The defendant shall identify all computers to which he has access. The defendant shall consent to the installation of
computer monitoring software on all computers to which he has access. The software may restrict and/or record any and all activity on the
computer, including the capture of keystrokes, application information, Internet use history, email correspondence, and chat conversations. A
notice will be placed on the computer at the time of installation to warn others of the existence of the monitoring software. The defendant
shall not remove, tamper with, reverse engineer, or in any way circumvent the software.

7. The defendant shall not possess or use any device with access to any online computer service at any location (including place of
employment) without the prior approval of a probation officer. This includes any Internet service provider, bulletin board system, or any
other public or private network or email system.

8. The defendant shall be required to submit to periodic polygraph testing at the direction of the probation office as a means to ensure that he
is in compliance with the requirements of his supervision or treatment program.
                Case:
                Case:1:12-cr-00723
                      1:12-cr-00723Document
                                   Document#:
                                            #:584
                                               575Filed:
                                                  Filed:08/08/24
                                                         08/05/24Page
                                                                 Page11
                                                                      5 of
                                                                        of14
                                                                           20PageID
                                                                             PageID#:6395
                                                                                    #:6595
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                                     (Note: Identify Changes with Asterisks (*))
Sheet 5 – Criminal Monetary Penalties                                                                                                  Judgment – Page 5 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

                                             CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                            Assessment                 Restitution              Fine                AVAA Assessment*            JVTA Assessment**
 TOTALS                                    $200.00                   $.00                   $.00                 $.00                          $.00


  ☐      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
         such determination.

  ☐      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.



       ☐        Restitution amount ordered pursuant to plea agreement $

       ☐        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       ☐        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                  ☐ the interest requirement is waived for the              .

                  ☐ the interest requirement for the              is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September
13, 1994, but before April 23, 1996.
                Case:
                Case:1:12-cr-00723
                      1:12-cr-00723Document
                                   Document#:
                                            #:584
                                               575Filed:
                                                  Filed:08/08/24
                                                         08/05/24Page
                                                                 Page12
                                                                      6 of
                                                                        of14
                                                                           20PageID
                                                                             PageID#:6396
                                                                                    #:6596
ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                                    (Note: Identify Changes with Asterisks (*))
Sheet 6 – Schedule of Payments                                                                                                        Judgment – Page 6 of 6
DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(1)

                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A         ☒ Lump sum payment of $200 due immediately.

                 ☐      balance due not later than           , or

                 ☐      balance due in accordance with            ☐ C,   ☐ D,     ☐ E, or      ☐ F below; or

B         ☐ Payment to begin immediately (may be combined with                ☐ C,     ☐ D, or      ☐ F below); or

C         ☐ Payment in equal              (e.g. weekly, monthly, quarterly) installments of $          over a period of          (e.g., months or years), to
               commence            (e.g., 30 or 60 days) after the date of this judgment; or

D         ☐ Payment in equal              (e.g. weekly, monthly, quarterly) installments of $          over a period of          (e.g., months or years), to
               commence            (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E         ☐ Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         ☐ Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    ☐ Joint and Several

Case Number                                      Total Amount                   Joint and Several          Corresponding Payee, if
Defendant and Co-Defendant Names                                                Amount                     Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

    ☐ The defendant shall pay the cost of prosecution.

    ☐ The defendant shall pay the following court cost(s):

    ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
               Case:
               Case:
                Case:1:12-cr-00723
                      1:12-cr-00723
                      1:12-cr-00723Document
                                    Document
                                    Document#:
                                             #:
                                             #:584
                                                575
                                                336Filed:
                                                    Filed:
                                                    Filed:08/08/24
                                                           08/05/24
                                                           05/20/19Page
                                                                    Page
                                                                    Page13
                                                                         71of
                                                                           of14
                                                                              8
                                                                              20PageID
                                                                                PageID
                                                                                 PageID#:3088
                                                                                        #:6397
                                                                                        #:6597



                                LTNITED STATES DISTRICT COURT
                                                        Northern District of Illinois


              UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                         v.
                                                                               Case Number:             I :12-CR-00723(l)
                         ADEL DAOUD
                                                                               USM Number:              43222-424



                                                                               Thomas Anthony Durkin and Joshua G. Herman
                                                                               Defendant's Attorney


THE DEFENDANT:
I pleaded guilty to count(s) 1 (one) and 2 (two) of the Indictment.
E pleaded nolo contendere to count(s) which was accepted by the court.
E was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                         Offense Ended               Count
 l8:2332Aa.F Use Of Certain Weapons Of Mass Destruction                                      09n4t2012                   I
 l8:8441.F Penalties - If Death Results                                                      09t14t2012                  2




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of I 984.

E fne defendant has been found not guilty on count(s)
E Count(s) dismissed on the motion of the United States.
It is ordered that the defendant must notifl, the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notifo the court and United States Attorney of material changes in            ic circumstances.




                                                                                  Signatuiffi
                                                                                  Sharon              Coleman, United States District Judge

                                                                                  Name and Title of Judge

                                                                                                5'ao-&\i q
               Case:
                Case:
                Case:1:12-cr-00723
                      1:12-cr-00723
                      1:12-cr-00723Document
                                    Document
                                    Document#:
                                             #:
                                             #:584
                                                575
                                                336Filed:
                                                    Filed:
                                                    Filed:08/08/24
                                                           08/05/24
                                                           05/20/19Page
                                                                    Page
                                                                    Page14
                                                                         82of
                                                                           of14
                                                                              8
                                                                              20PageID
                                                                                PageID
                                                                                 PageID#:3089
                                                                                        #:6398
                                                                                        #:6598
ILND 2458 (Rev. 04/19/2019) Judgment in a Criminal Case
Sheet 2 - lmprisonment                                                                     Judgment- Page 2 of8

DEFENDANT: ADEL DAOUD
CASE NUMBER: 1:12-CR-00723(l)
                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
192 months as to count I and 192 months as to count 2 of the Indictment. Terms to run conculrent to each other and concurrent to the terms
imposed in case I 3 CR 703- I and 1 5 CR 487- l .

B         The court makes the following recommendations to the Bureau of Prisons: Defendant to serve his term of imprisonment at the

     Butner FCC facility or at the Pekin FCI facility.

A         The defendant is remanded to the custody of the United States Marshal.

tl        The defendant shall surrender to the United States Marshal for this district:

          traton
     tr        as notified by the United States Marshal.

     !         The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

          D         before 2:00 pm on

          tr        as notified by the United States Marshal.

          !         as notified by the Probation or Pretrial Services Office.




                                                                   RETURN

I have executed this judgment as follows;




Defendant delivered on                     to                                                                   with a certified copy of this
judgment.




                                                                                     UNITED STATES MARSHAL


                                                                                By
                                                                                     DEPUTY UNITED STATES MARSHAL
                   Case:
                   Case:
                    Case:1:12-cr-00723
                          1:12-cr-00723
                          1:12-cr-00723Document
                                        Document
                                        Document#:
                                                 #:
                                                 #:584
                                                    575
                                                    336Filed:
                                                        Filed:
                                                        Filed:08/08/24
                                                               08/05/24
                                                               05/20/19Page
                                                                        Page
                                                                        Page15
                                                                             93of
                                                                               of14
                                                                                  8
                                                                                  20PageID
                                                                                    PageID
                                                                                     PageID#:3090
                                                                                            #:6399
                                                                                            #:6599
ILND 245D (Rev 0412912019) Jtdgment in a Criminal Case for Revocation
    -
Sheet 3   Release

DEFENDANT: ADEL DAOUD
CASE NUMBER: 1 : I 2-CR-00723(l)

          MANDATORY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C $ 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
forty-five (45) years as to count I and2 of the Indictment. Terms to run concurrent to each other and concurrent to the terms of supervised
release imposed in cases l3 CR 703-l and l5 CR 487-l

         You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau ofPrisons. You shall report to sentencing Judge or one sitting in her stead, on status to review conditions after review of
medical/mental health record and conditions of MSR pursuant to l8 U.S.C. 3553(a). The court imposes those conditions identified by
checkmarks below:



During the period ofsupervised release:
 E (l) you shall not commit another Federal, State, or local crime.
 B (2) you shall not unlawfully possess a controlled substance.
 tr (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
                an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                domestic violence crime, as defined in $ 3561(b).1
 tr (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C.             S
        16913).
 a (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 tr (6) you shall refrain from any unlawfulperiodic
                                             use of a controlled substance AND submit to one drug test within l5 days of release on
                                                     tests thereafter, up to 104 periodic tests for use ofa controlled substance during
                supervised release and at least two
                each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
                if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]

   DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C S 3563(b) AND 18 U.S.C $ 3583(d)

Discretionary Conditions                      orders that you abide by the following conditions during the term of supervised release because such
                            - The court
conditions are reasonably related to the factors set forth in $ 3553(aXl) and @X2XD),(9)r.@(DLsuch conditions involve only such
deprivations ofliberry or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (C). and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
 tr (1) you shall provide financial support to any dependents ifyou are financially able to do so.
 tr Q) you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ @(g) or
                 $ 3663A(cXlXA)).
 tr      you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows:
          (3)                                                                                                             )$El

 tr     you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
          (4)
        conscientiously a course of study or vocational training that will equip you for employment.
 tr (s) you shall refrainconstituting
                           from engaging in the following occupation, business, or profession bearing reasonably direct relationship
                                      the offense, or engage in the following specified occupation,
                                                                                                                a
                                                                                                            or profession only to
                                                                                                               bus_iness,                    a
                 to the conduct
                 stated degree or under stated circumstances;  (ifchecked    yes, please indicate restriction(s)) '#ffiffi .

 a        (6) you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
                 to be engaged, in criminal activity and shall'not:
                   tr   visit the following type of places: M.
                   E    knowingly meet or communicate with the following persons: Any persons who are, or claim to be, associated with a
          foreign terrorist organization (as defined in 8 U. S. C. I 189) , or who are, or claim to be, involved with violent acts, or advocating
          for acts of violence; and, communicating with any persons who are located outside of the United States with the exception to
          family members and persons who are located outside of the United States with the exception to family members and persons
          previously identified and approved by the Probation Office.
 tr       (7) you shall refrain from E any or E excessive use of alcohol (defined as E having a blood alcohol concentration
                greater than 0.08; or EI        ), and from any use ofa narcotic drug or other controlled substance, as defined in $ 102
                of the Controlled Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
 tr       (8) you shall not possess a firearm, destructive device, or other dangerous weapon.
                  Case:
                   Case:1:12-cr-00723
                         1:12-cr-00723Document
                                       Document#:#:584
                                                  575
                                                    336Filed:
                                                        Filed:08/08/24
                                                              08/05/24
                                                               05/20/19Page
                                                                        Page16
                                                                            10
                                                                             4 of 8
                                                                                  14PageID
                                                                                  20 PageID#:3091
                                                                                            #:6400
                                                                                            #:6600
ILND 245D (Rev. 0412912019) Judgment in a Criminal Case for Revocation
    - Suoervised Release
Sheet 3                                                                                                                            Judgment - Page 4 of 8

DEFENDANT: ADEL DAOUD
CASE NUMBER: 1 : 1 2-CR-00723(1)

 a        (e)     tr    you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                         include urine testing up to a maximum of 104 tests per year.
                  x     you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                        any medications prescribed by the mental health treatment provider
                  tr   you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifu:
                        'F"l,lil, i:i,'tA')


 tr       (10) (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                 intervals of time, totaling "i it:t':1,:t,,lno more than the lesser of one year or the term of imprisonment authorized for the
                 offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in
                 93563(bxl0) shall be imposed only for a violation of a condition of supervised release in accordance with $ 3583(e)(2)
                 ind only when facilities are available) for the following period
                 (community confinement): you shall reside at, or participate in the program of a community corrections facility
                 (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                 release, for a period of           months.
 tr       (12)   you shall work in community service for',,,1.:,# hours as directed by a probation officer.
 tr       (13)   youshallresideinthefollowingplaceorar€a:'..'iis,orrefrainfromresidinginaspecifiedplaceorarea::
 tr       (14)   you shall refiain from knowingly leaving the federal judicial district where you are being supervised, unless
                 granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
                 Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                 Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
 a        (15)   you shall report to a probation officer as directed by the court or a probation offtcer.
 E        (16)   tr       you shall permit a probation officer to visit you B at any reasonable time or E as specified: ,
                          I at home                  El at work                 El at school               I   at a community service location
                          El other reasonable location specified  by  a probation officer (excluding inside place  of worship)
                    A you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
 E        (17) you shall notifo a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
                workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
                truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
 a        (l 8) you shall noti! a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
                enforcement officer.
 tr       (le) (home confinement)
                 tr (aXi) (home incarceration) for a period of _ months, you are restricted to your residence at all times except for
                        medical necessities and court appearances or other activities specifically approved by the court.
                 tr     (a)(ii) (home detention) for a period of _ months, you are restricted to your residence at all times except for
                        employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
                        court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
                 tr     (a)(iii) (curfew) for a period of_ months, you are restricted to your residence every day.
                 tr     from the times directed by the probation officer; or E from _ to _.
                tr      (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                        by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                        by all technology requirements.
                tr      (c) you shall pay all or part ofthe cost ofthe location monitoring, at the daily contractual rate, ifyou are financially
                        able to do so.
 tr       (20) you shall comply with the terms of any cout order or order of an administrative process pursuant to the law of a State, the
                 District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                 and maintenance of a child or of a child and the parent with whom the child is living.
 tr       (21) (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                 determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
                 and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
                 United States without obtaining, in advance, the express written consent of the United States Attorney General or the
                 United States Secretary of the Department of Homeland Security.
 tr       (22) you shall satisfy such other special conditions as ordered below.
                 Case:
                  Case:1:12-cr-00723
                        1:12-cr-00723Document
                                      Document#:#:584
                                                 575
                                                   336Filed:
                                                       Filed:08/08/24
                                                             08/05/24
                                                              05/20/19Page
                                                                       Page17
                                                                           11
                                                                            5 of 8
                                                                                 14PageID
                                                                                 20 PageID#:3092
                                                                                           #:6401
                                                                                           #:6601
ILND 245D (Rev. 0412912019) Judgment in a Criminal Case for Revocation
    - Suoervised Release
Sheet 3                                                                                                                         Judgment- Page 5 of8

DEFENDANT: ADEL DAOUD
CASE NUMBER: I : 1 2-CR-00723(1)
 A        (23) You shall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. 1030(e)(l)),
                other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
                Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
                occupants that the premises may be subject to searches pursuant to this condition.
 tr (24)         Other:

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3563(bX22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term ofsupervised release:
 tr ( I )     if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
                  Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 A Q)             you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                  days of placement on supervision.
 tr (3)           you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                  Ilom employment, perform at least           hours of community service per week at the direction of the probation office
                  ylljil gain  lly employed.  The total amount of community service required over your term of service shall not exceed
                  i##lit rt hours.
 tr       @)      you shall not maintain employment where you have access to other individual's personal information, including, but not
                  limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 tr       (5)     you shall not incur new credit charges or open additional lines ofcredit without the approval ofa probation officer
                  unless you are in compliance with the financialobligations imposed by this judgment.
 E (6)            you shall provide a probation officer with access to any requested financial information requested by the probation
                  officer to monitor compliance with conditions of supervised release.
 tr       O       withinT2 hours of any significant change in your economic circumstances that might affect your ability to pay
                  restitution, fines, or special assessments, you must notiS, the probation officer of the change.
 tr (8)           you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
 tr (9)           you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                  probation officer. You shall comply with all recommended treatment which may include psychological and
                  physiological testing. You shall maintain use of all prescribed medications.
                 tr You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                         United States Probation Office. You shall consent to the installation of computer monitoring software on all
                         identified computers to which you have access and to which the probation officer has legitimate access by right or
                         consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                         keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
                         will be placed on the computer at the time of installation to warn others of the existence of the monitoring
                         software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
                 tr The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                         to satisfaction of other financial obligations imposed by this judgment.
                 tr     You shall not possess or use at any location (including your place of employment), any computer, external storage
                        device, or any device with access to the Internet or any online computer service without the prior approval of a
                        probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
                        network or email system
                 tr     You shall not possess any device that could be used for covert photography without the prior approval ofa
                        probation officer.
                 tr     You shall not view or possess child pornography. If the heatment provider determines that exposure to other
                        sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                        to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                        determination, pursuant to 18 U.S.C. $ 3583(eX2), regarding whether to enlarge or otherwise modi! the
                        conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                   Case:
                    Case:1:12-cr-00723
                          1:12-cr-00723Document
                                        Document#:#:584
                                                   575
                                                     336Filed:
                                                         Filed:08/08/24
                                                               08/05/24
                                                                05/20/19Page
                                                                         Page18
                                                                             12
                                                                              6 of 8
                                                                                   14PageID
                                                                                   20 PageID#:3093
                                                                                             #:6402
                                                                                             #:6602
ILND 245D (Rev.0412912019) Judgment in a Criminal Case for Revocation
qh

DEFENDANT: ADEL DAOUD
CASE NUMBER: 1: l2-CR-00723(l)

                         El      You shall not, without the approval of a probation officer and treatment provider, engage in activities that will
                                put you in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
                                 locations where persons under the age of l8 regularly congregate, including parks, schools, school bus stops,
                                 playgrounds, and childcare facilities. This condition does not apply to contact in the course of normal
                                 commercial business or unintentional incidental contact
                         D This condition does not apply to your family members: ,r: :,r: [Names]
                         tr Your employment shall be restricted to the judicial district and division where you reside or are supervised,
                                unless approval is granted by a probation officer. Prior to accepting any form ofemployment, you shall seek the
                                approval ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk
                                to the community you will pose if employed in a particular capacity. You shall not participate in any volunteer
                                activity that may cause you to come into direct contact with children except under circumstances approved in
                                advance by a probation officer and treatment provider.
                         tr You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts,
                                and any other financial information requested.
                         tr You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                                impose restrictions beyond those set forth in this order.
 tr           (10)        you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
                          commencement of the term of supervised release, at a rate of not less than l0o/o of the total of your gross earnings
                          minus federal and state income tax withholdings.
 A            (I1   )     you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                          prior permission of the court.
 tr           (I   2)     you shall pay to the Clerk of the Court $r,tii iiltLiii#ii$l as repayment to the United States of gove-=rffnent funds you rggef ved
                          during the investigation of this offense. (The Clerk of the Court shall remit the funds to ;fi;1::;;1{list both Agency and
                         A*dre|$s.)
 tr           (13)       You shall observe one Reentry Court session, as instructed by your probation officer.
              (I4), Oth__f;
              tti.$f:ffi. i rY;s,#i^@
 tr
                             Iffi                               ,iffi r#l:W                      l
              ffirr                                             authorize    the        qf   W

               ffau sti$ no&poryWs or use at any location (including your place of employmeai), any extennl storage device rryithaut th6
              F,@l         ififfilii#ffiff ,t. t#.ffiddt'

                   Y;ii-1*U*]#   ffiUl |                     s,€,#".-*-q *dl
                                                                h;;   i ,,
                                                                        -:,
                                                               fl{efiflx8ffi*s
                                                                              l
                                                                                                                          ffiiui*i*e*:. dd tllt
                                                                                                                                 rdii




                                                                                                                   ::tl,s,(xrllggl gx#gj;ffi ,,
                                                                                                                                          t. ra 6
                   You Slrall b+*eouired to submit to peri,g$ic polygraph t"@ffi{iSection'A{t                 #fatio*Wmce as a meani tb ensu**'tha*
              y-a.ljare:6.lioffi il#i$.i'.furequir#ffiitilr,your lW,
                   Case:
                    Case:1:12-cr-00723
                             1:12-cr-00723Document
                                           Document#:#:584
                                                      575
                                                        336Filed:
                                                            Filed:08/08/24
                                                                  08/05/24
                                                                   05/20/19Page
                                                                            Page19
                                                                                13
                                                                                 7 of 8
                                                                                      14PageID
                                                                                      20 PageID#:3094
                                                                                                #:6403
                                                                                                #:6603
ILND 2458 (Rev. 04/19/2019) Judgment in a Criminal Case
sheet 5 - criminal Monetary Penalties                                                              Judgment - Page 7 of 8

DEFENDANT: ADELDAOUD
CASE NUMBER: I : 12-CR-00723(l)


                                              CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                 Assessment     JVTA Assessment*                           Fine                   Restitution
 TOTALS                                              s200.00                    $.00                     Waived                          s.00



 tr     The determination of restitution is deferred until           An Amended Judgment in a Criminql Case (,to z,tsqwill be entered after such
        determination.
 tr     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. $ 3664(i), all nonfederal
        victims must be paid before the United States is paid.




      n           Restitution amount ordered pursuant to plea agreement $

      n          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                 before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(0. All of the payment options on Sheet
                 6 may be subject to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(g).
      n          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                  !               the interest requirement is waived for the

                  tr              the interest requirement for the       is modified as follows:

      tr         The defendant's non-exempt assets, if any, are subject to immediate execution to satisry any outstanding restitution or fine
                 obligations.

      * Justice for Victims of Trafficking Act of 2015, Pub. L. No. I l4-22.
      * Findings for the total amount of losses are required under Chapters 109A, 110, I l0A, and l13A of Title l8 for offenses committed
      on or after September 13,1994, but before Apri|23,1996.
                Case:
                 Case:1:12-cr-00723
                       1:12-cr-00723Document
                                     Document#:#:584
                                                575
                                                  336Filed:
                                                      Filed:08/08/24
                                                            08/05/24
                                                             05/20/19Page
                                                                      Page20
                                                                          14
                                                                           8 of 8
                                                                                14PageID
                                                                                20 PageID#:3095
                                                                                          #:6404
                                                                                          #:6604
ILND 2458 (Rev. 04/19/2019) Judgment in a Criminal Case
Sheet 7 - Denial ofFederal Benefits                                                                                            Judqment   - Page 8 of 8
DEFENDANT: ADEL DAOUD
CASE NUMBER: l:12-CR-00723(l)
                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


       A       Lump sum payment of $200.00 due immediately.

               tr        balance due not later than          , or

               tr        balance due in accordance with !       c, n D, tr E, or E F below; or

Btr            Payment to begin immediately (may be combined with E C, E D, or E F below); or


CN             Payment in equal            (e.g. weekly, monthly, quarterly) installments of $      over a period of         (e.g., months or years), to
               commence             (e.g., 30 or 60 days) after the date of this judgment; or


       tr      Payment in equal (e.g. weekly, monthly, quarterly) installments of $       over a period of                   (e.g., months or years), to
               commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or
       !       Payment during the term of supervised release will commence within         (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

       n       Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

tr     Joint and Several

Case Number                                       Total Amount                 Joint and Several        Corresponding Payee, if
Defendant and Co-Defendant Names                                               Amount                   Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr     The defendant shall pay the cost ofprosecution.


tr     The defendant shall pay the following court cost(s):


tr     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
